         Case 1:18-cv-05391-SCJ Document 48-1 Filed 03/05/19 Page 1 of 28




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

FAIR FIGHT ACTION, et al.,

         Plaintiffs,

vs.
                                            Civil Action No.: 1:18-cv-05391-SCJ
BRAD RAFFENSPERGER, in his
official capacity as the Secretary of
State of Georgia; et al.,

         Defendants.


     DEFENDANTS’ BRIEF IN SUPPORT OF THEIR RENEWED MOTION
          TO DISMISS PLAINTIFFS’ AMENDED COMPLAINT

         Defendants Brad Raffensperger, in his official capacity as Secretary of State

of the State of Georgia and Chairman of the State Election Board of Georgia

(“Secretary Raffensperger”), and Rebecca N. Sullivan, David J. Worley, Anh Lee, 1

and Seth Harp, in their official capacities as members of the State Election Board

(collectively, “Members”), and the State Election Board (“Board”) (collectively

“Defendants”), hereby submit this Brief in Support of Their Renewed Motion to

Dismiss Plaintiffs’ Amended Complaint.




1
    Replacing Ralph “Rusty” Simpson pursuant to Fed. R. Civ. P. 25(d).
       Case 1:18-cv-05391-SCJ Document 48-1 Filed 03/05/19 Page 2 of 28




                                 INTRODUCTION

      After Defendants pointed out the serious deficiencies in the original

Complaint, Plaintiffs have now tried again to state a claim—but still have come up

short. Ignoring the oft-quoted saying, “the plural of ‘anecdote’ is not ‘data,’”

Plaintiffs’ Amended Complaint attempts to string together a variety of isolated

incidents to weave a new theory: that a variety of independent and unrelated

actions by mostly local officials somehow resulted in constitutional violations that

require massive judicial intervention. Indeed, Plaintiffs claim that Georgia’s

election system is so flawed that the only solution is to place the entire state in a

federal receivership, with this Court as the new source of “uniform standards and

processes” for governing all Georgia elections. [Doc. 41, pp. 87-90].

      Whatever Plaintiffs’ views on proper election administration, they should

direct their critiques to the state’s policy-making body: the Georgia General

Assembly. 2 Even as this brief is filed, the legislature is considering legislation that




2
  At least one of the Plaintiffs appears to recognize this. Fair Fight Action has hired
lobbyists to engage on the election reform bill that passed the Georgia House of
Representatives and is currently being considered by the State Senate. See
Lobbyist Search – by Group Results for 2006 and Newer (showing five registered
lobbyists for Plaintiff Fair Fight Action, Inc.), available at
http://media.ethics.ga.gov/search/Lobbyist/Lobbyist_Groupsearchresults.aspx?&Y
ear=2006%20and%20Newer&GroupName=fair%20fight&GroupNameContains=

                                          -2-
       Case 1:18-cv-05391-SCJ Document 48-1 Filed 03/05/19 Page 3 of 28




could moot or significantly alter most of Plaintiffs’ claims and transform them into

even more speculative harms.

      Specifically, the House of Representatives passed House Bill 316 on

February 26, 2019, which, among other changes, (1) provides for new voting

machines that mark paper ballots; (2) gives more time and notifications to voters

before their registrations are cancelled; (3) creates new processes for list

maintenance in coordination with other states; (4) limits rejections of absentee

ballots; (5) prohibits changes in polling locations within certain time limits before

an election; (6) eliminates most restrictions on assistance to voters; and

(7) provides for audits of voting systems after elections.3 The Senate is currently

considering the legislation. This likely change in law is critical: because the

Eleventh Amendment limits Plaintiffs to prospective relief only, any statutory

change automatically moots any claims of harm caused by current law and policy.

      But even if this case goes forward after this legislation is enacted, Plaintiffs’

Amended Complaint still fails to sufficiently allege standing or place any claims

properly before this Court. Specifically, Plaintiffs have not (1) alleged sufficient

facts to confer standing; (2) joined all proper parties; (3) stated a failure to train

theory; (4) stated a claim regarding voter list maintenance; (5) stated a claim
3
 See Bill Status, available at http://www.legis.ga.gov/legislation/en-
US/Display/20192020/HB/316

                                          -3-
       Case 1:18-cv-05391-SCJ Document 48-1 Filed 03/05/19 Page 4 of 28




against the Board or its Members permissible under the Eleventh Amendment nor

42 U.S.C. § 1983; and (6) stated sufficient causation against the Board or its

Members. This is not mere advocacy; it is binding precedent: the United States

Supreme Court has already ruled on a system for voter list maintenance like

Georgia’s and this Court has granted a motion to dismiss on a similar claim.

Dismissal is, therefore, warranted.

                             STATEMENT OF FACTS

      The 2018 Election in Georgia produced “historic voter registration and

turnout,” that was greater than any previous midterm election in Georgia history.

[Doc. 41, ¶ 43]. Plaintiffs4 allege, generally, that this record turnout and vote total

(and electoral loss of their preferred candidate) masked “time-tested voter

suppression tactics.” Id. at ¶ 44. Their candidate having lost the election, Plaintiffs

now seek to litigate the 2018 election not only through their legislative lobbying

efforts, but by attempting an end-run around the legislature by relying on this

Court to rewrite Georgia’s election laws. See generally [Doc. 41].

      To achieve these goals, the Amended Complaint raises six flawed counts

that allege a wide array of unconstitutional or otherwise illegal acts under the First,
4
 Plaintiffs are Fair Fight Action; Care in Action; Ebenezer Baptist Church of
Atlanta, Inc.; Baconton Missionary Baptist Church, Inc. (BMBC); Virginia-
Highland Church, Inc.; and The Sixth Episcopal District, Inc. (Sixth District
A.M.E.).

                                          -4-
       Case 1:18-cv-05391-SCJ Document 48-1 Filed 03/05/19 Page 5 of 28




Fourteenth, and Fifteenth Amendments to the United States Constitution, § 2 of the

Voting Rights Act, and §§ 301 and 302 of the Help America Vote Act. Id.

               ARGUMENT AND CITATION OF AUTHORITY

      To survive a motion to dismiss, a complaint must “state a claim to relief that

is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). The

complaint must demonstrate “more than a sheer possibility that a defendant has

acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 677 (2009). While this Court

must assume the veracity of well-pleaded factual allegations, it is not required to

accept as true legal conclusions when they are “couched as [] factual

allegation[s].” Iqbal, 556 U.S. at 678-79.

I.    Plaintiffs’ Amended Complaint Should Be Dismissed for Lack of
      Standing.

     A party invoking federal jurisdiction bears the burden of establishing standing

at the commencement of the lawsuit. Lujan v. Defenders of Wildlife, 504 U.S. 555,

561, 570 n.5 (1992). See also Johnson v. Bd. of Regents, 263 F.3d 1234, 1267

(11th Cir. 2001) (“A party’s standing to sue is generally measured at the time of

the complaint . . . “). “No principle is more fundamental to the judiciary’s proper

role in our system of government than the constitutional limitation of federal-court

jurisdiction to actual cases or controversies.” Raines v. Byrd, 521 U.S. 811, 818

(1997).

                                        -5-
       Case 1:18-cv-05391-SCJ Document 48-1 Filed 03/05/19 Page 6 of 28




     Article III standing requires that each claim “clearly” establish standing.

Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016) (quoting Warth v. Seldin, 422

U.S. 490, 519 (1975)). Plaintiffs must allege sufficient facts to demonstrate a “[1]

concrete, particularized, and actual or imminent [harm]; [2] fairly traceable to the

challenged action; and [3] redressable by a favorable ruling.” Monsanto Co. v.

Geertson Seed Farms, 561 U.S. 139, 149 (2010). Plaintiffs have failed to do so.

      A. Plaintiffs’ Only Claimed Injury is an Alleged Diversion of Resources.

      There are no individual voters who are plaintiffs in this case. All of the

Plaintiffs are organizations and have alleged no harm other than to their respective

corporate missions and budgets. Several have alleged no harm except possible

future spending. Such generalized grievances do not establish standing in federal

courts. United States v. Hays, 515 U.S. 737, 743 (1995).

      First, an injury must actually “affect the plaintiff in a personal and individual

way.” Lujan, 504 U.S. at 560. It must be a “concrete and demonstrable injury to

the organization’s activities—with the consequent drain on the organization’s

resources.” Havens Realty v. Coleman, 455 U.S. 363, 379 (1982).

      Second, an injury must constitute more than a “setback to the organization’s

abstract social interests.” Id. at 379. Standing is not established when the alleged

harm that befalls an organization is to act consistently with its existing mission.


                                         -6-
       Case 1:18-cv-05391-SCJ Document 48-1 Filed 03/05/19 Page 7 of 28




This includes plaintiffs that engage in advocacy efforts. Int’l Acad. of Oral Med. &

Toxicology v. Food & Drug Admin., 195 F. Supp. 3d 243, 256 (D. D.C. 2016). To

the contrary, Plaintiffs must show Defendants’ allegedly “illegal acts impaired the

organization’s ability to engage in its own projects by forcing the organization to

divert resources in response.” Arcia v. Sec’y of Florida, 772 F.3d 1335, 1341-42

(11th Cir. 2014) (emphasis added). See also Food & Water Watch, Inc. v. Vilsack,

808 F.3d 905, 919 (D.C. Cir. 2015) (injury must inhibit “organization’s daily

operations”); Nat’l Treasury Employees Union v. United States, 101 F.3d 1423,

1429 (D.C. Cir. 1996) (conflict between policy and organizational mission not

enough for Article III standing).

      Third, any alleged harm must be imminent and not “conjectural or

hypothetical.” 31 Foster Children v. Bush, 329 F.3d 1255, 1265 (11th Cir. 2003).

This means that, when various steps are necessary to establish the injury, each step

must be alleged. Los Angeles v. Lyons, 461 U.S. 95, 105-06 (1983). While there is

no “per se rule denying standing to prevent probabilistic injuries,” Fla. State Conf.

of the NAACP v. Browning, 522 F.3d 1153, 1162. (11th Cir. 2008), threatened

injuries that depend on conjecture are too speculative. Id. at 1163. Turning to the

individual Plaintiffs in this action, several allege only possible future injuries

(based on current but likely changing law). Plaintiff Fair Fight Action only alleges


                                          -7-
       Case 1:18-cv-05391-SCJ Document 48-1 Filed 03/05/19 Page 8 of 28




that it plans to “implement new education programs” and engage in other new

activities in the future. 5 [Doc. 41, ¶¶ 12-13]. Plaintiff BMBC’s only alleged current

harm was a frustration of their mission; all its other alleged harm is in the future.

[Doc. 41, ¶ 26]. Plaintiff Virginia-Highland only alleges that it will undertake

future education efforts but has not yet spent any resources on those efforts.

[Doc. 41, ¶¶ 29-30]. Plaintiff Sixth District A.M.E. likewise only plans to spend

future funds. [Doc. 41, ¶ 34].

      Only Plaintiffs Care in Action and Ebenezer Baptist Church have alleged

that any diversion has already taken place. [Doc. 41, ¶¶ 18-19, 23]. Plaintiff Care

in Action claims it spent additional resources during the 2018 Election, but only

for purposes that related to its existing mission: assisting individuals in voting.

[Doc. 41, ¶¶ 15-17]. The only other alleged harm is the need for future education

and assistance to voters (other than a conclusory statement that resources have

been shifted). [Doc. 41, ¶ 18]. Likewise, Plaintiff Ebenezer Baptist Church alleges
5
  Plaintiffs cannot include resources spent on litigation or “detecting and
challenging illegal practices” as an injury for standing purposes. Browning, 522
F.3d at 1166; see also Food & Water Watch, 808 F.3d at 919 (use of “resources for
litigation, investigation in anticipation of litigation, or advocacy is not sufficient to
give rise to an Article III injury”). Perhaps recognizing this fact, the Amended
Complaint does not cite spending on this lawsuit as a harm to Fair Fight Action. Of
course, the organization’s primary purpose is this lawsuit, as former state
representative Stacey Abrams announced when it was created. See fundraising
email quoted at https://www.georgiapol.com/2018/11/26/fair-fight-to-host-press-
conference-on-federal-lawsuit-to-be-filed-tuesday/

                                          -8-
       Case 1:18-cv-05391-SCJ Document 48-1 Filed 03/05/19 Page 9 of 28




that it worried about potential problems and so it engaged in a vote-by-mail effort

that was consistent with the church’s larger mission. [Doc. 41, ¶¶ 22-23]. In other

words, it spent resources to further its existing mission. Any remaining alleged

harms are future in nature, with the allegation that the church will have to

undertake additional activities. [Doc. 41, ¶ 23].

      Plaintiffs’ alleged future harms require a series of speculative events before

they occur, especially in light of the General Assembly’s current efforts. If the law

changes, which seems likely, Plaintiffs’ future education efforts will become

unnecessary. While Plaintiffs have clear advocacy positions, like the plaintiffs in

Int’l Acad. of Oral Med., they only plan to continue working to further their

missions and may not even undertake future education efforts. Doing the job one

sets out to do is not an injury—it is a purpose, and it does not establish standing.

      B. Plaintiffs’ Alleged Injury Is Not Traceable To Defendants.

      The “causation piece of Article III standing is vital.” Samuels v. Fed. Hous.

Fin. Agency, 54 F. Supp. 3d 1328, 1334 (S. D. Fla. 2014) (declining to find

standing based on diversion of resources because it was not “fairly traceable to the

defendant’s allegedly unlawful conduct”). Not only must the injury (here, the

diversion of resources) be traceable to Defendants, the expenditure must relate to

the challenged conduct; “allegations of a possible future injury are not sufficient.”


                                         -9-
      Case 1:18-cv-05391-SCJ Document 48-1 Filed 03/05/19 Page 10 of 28




Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013) (citing Whitmore v.

Arkansas, 495 U.S. 149, 158 (1999)). In Clapper, the Supreme Court found that

the plaintiffs lacked standing despite (1) having a good-faith, non-paranoid belief

that they would be surveilled by the challenged government program; and

(2) making financial decisions based on those fears. 495 U.S. at 415-16. After

Clapper, federal courts may not allow plaintiffs to demonstrate standing by

“manufactur[ing] standing merely by inflicting harm on themselves [by expending

resources] based on their fears of hypothetical future harm that is not certainly

impending.” Id. at 416.6

      Plaintiffs here are engaged in the same, flawed exercise. They allege little

more than (1) state officials will implement existing laws using existing voting

systems (which is likely inaccurate); and (2) that they plan to spend resources to

fund already-existing programs or potentially establish new programs to advance

their already-existing organizational missions. [Doc. 41, ¶¶ 10-35]. Both

allegations ignore that the existing laws are likely to change; that any harm based


6
  Many of the Eleventh Circuit’s decisions on organizational standing came before
Clapper, but each identified a traceable harm back to the actions of the named
defendant. See Common Cause/Georgia v. Billups, 554 F.3d 1340, 1353-55 (11th
Cir. 2009) (new photo ID law); Arcia, 772 F.3d at 1340 (new voter list
maintenance program); Browning, 522 F.3d at 1157-58 (new voter verification
program). Here, Plaintiffs focus on a fear of existing voting laws, much more like
the plaintiffs in Clapper.

                                        - 10 -
      Case 1:18-cv-05391-SCJ Document 48-1 Filed 03/05/19 Page 11 of 28




on the implementation of new laws is completely speculative; and Plaintiffs’

assertions are based on fears that the exact statutes will be implemented the exact

same way as they contend was wrong in 2018. This type of speculation cannot

establish standing, and Plaintiffs’ Amended Complaint should be dismissed.

      C. Plaintiffs Alleged Injuries Are Not Redressable By Defendants.

      A related but independent element of standing, redressability, requires a

court to consider whether deciding for plaintiffs would increase the likelihood “that

the plaintiff would obtain relief that directly redresses the injury suffered.”

Mulhall v. UNITE HERE Local 355, 618 F.3d 1279, 1290 (11th Cir. 2010).

      Plaintiffs cannot show redressability as, even if the Court grants every

remedy sought by Plaintiffs, they would not obtain relief from the sole injury they

allege. Plaintiffs would still spend resources on their primary missions: educating

voters and assisting voter turnout operations. Despite the Amended Complaint’s

conclusory statements about redressability, a wholesale change to Georgia’s voting

system would likely require Plaintiffs to spend even more resources on their

lobbying and education missions.

      This is in sharp contrast to the remedies for other organizations in Eleventh

Circuit cases involving organizational standing. In Ga. Latino Alliance for Human

Rights v. Governor of Ga., the plaintiffs would no longer have to cancel citizenship


                                         - 11 -
      Case 1:18-cv-05391-SCJ Document 48-1 Filed 03/05/19 Page 12 of 28




classes if the allegedly unconstitutional law was overturned. 691 F. 3d 1250, 1260

(11th Cir. 2012). In Browning, the plaintiffs would be able to begin “specific

projects during a specific time” if a challenged Florida law was overturned. 522

F.3d at 1166. In Common Cause, the plaintiffs would be able to conduct 15-20

voter registration drives if they no longer had to help individuals obtain photo

identification. 554 F.3d at 1350. Here, Plaintiffs would merely spend funds on the

same (or similar) projects they did before the change.

       Because Plaintiffs have not shown any of the required elements of standing,

the Amended Complaint should be dismissed. At the very least, this Court should

dismiss all Plaintiffs other than Care in Action and Ebenezer Baptist Church; the

only Plaintiffs to allege they have taken any action beyond filing this lawsuit.

II.    Plaintiffs Failed To Join Necessary Parties Or Inadequately Pleaded A
       Failure to Train Theory.

       Either Plaintiffs failed to join necessary parties, or their claims are limited to

a failure to train theory. If the former, the case should be dismissed for failure to

join all necessary parties. If the latter, Plaintiffs’ failure to train claims should be

dismissed for failure to state a claim for which relief can be granted.

       A. Plaintiffs Failed To Join Necessary Parties.

       As a consequence of Plaintiffs’ erroneous contention that state (and not

local) government officials administer elections, the Amended Complaint is

                                          - 12 -
      Case 1:18-cv-05391-SCJ Document 48-1 Filed 03/05/19 Page 13 of 28




subject to dismissal under Federal Rules of Civil Procedure 12(b)(7) and 19. Those

rules require plaintiffs in federal court to join all necessary parties. Id. A party is

necessary if, “in that person’s absence, the court cannot afford complete relief

among existing parties.” Fed. R. Civ. P. 19(a)(1)(A). The essence of Plaintiffs’

Amended Complaint is that Defendants engaged in “gross mismanagement” of an

election. [Doc. 41, ¶ 2]. The problem with that theory is that Defendants neither

manage nor administer Georgia elections; county election officials do.

      Plaintiffs’ first error is alleging that the Georgia Secretary of State “oversees

and administers elections.” [Doc. 41, ¶¶ 36, 42]. See Iqbal, 556 U.S. at 678

(“[T]enet that a court must accept as true all of the allegations in a complaint is

inapplicable to legal conclusions.”). Despite Plaintiffs’ litany of claims that the

Secretary is responsible for elections, O.C.G.A. § 21-2-50 enumerates the statutory

authority of the Secretary, and none of the 15 enumerated duties give the Secretary

control over counties and election superintendents. The Secretary must provide

training to registrars and superintendents (O.C.G.A. § 21-2-50(11)), but he does

not watch them process voter registration applications, count ballots, administer

provisional ballots, or control how poll officers undertake those activities. The

Secretary must maintain the official list of registered voters (O.C.G.A. § 21-2-

50(a)(14)), but he does not enter information into the voter registration system;


                                          - 13 -
        Case 1:18-cv-05391-SCJ Document 48-1 Filed 03/05/19 Page 14 of 28




local voter registrars do.7 Similarly, the Board’s statutory duties are set forth in

O.C.G.A. § 21-2-31, which also does not give it control over county officials.8

        The Georgia Election Code is equally clear that the duties of administering

and conducting elections fall onto local superintendents who “instruct poll officers

and others in their duties” and “select and equip polling places” (as well as a host

of other acts complained of by Plaintiffs). O.C.G.A. § 21-2-70. As such, any

alleged defects in the election administration are properly addressed to local

officials. Here, the Amended Complaint alleges issues with determinations made at

local county elections offices—including counting of votes, handing out of

provisional ballots and supplies, decisions regarding precinct locations, informing

voters where to vote, and administering absentee ballots—all of which are under

local control. [Doc. 41, ¶¶ 60, 109, 111-119, 122-1279, 134-138, 142-143, 151-

152].
7
  Even Plaintiffs cannot deny which entity conducts elections, because one of their
allegations about the Secretary’s role specifically refers to “how counties conduct
elections.” [Doc. 41, ¶ 60].
8
  Plaintiffs correctly identify that the State Election Board has the authority to
investigate violations of election laws and bring enforcement actions (O.C.G.A.
§ 21-2-31), but Plaintiffs are not alleging that Defendants are violating the Election
Code—instead they are challenging the constitutionality of a variety of election
laws that county officials are implementing as written.
9
  Plaintiffs’ contention that the Secretary prints provisional ballots is also wrong as
a matter of law. See O.C.G.A. §§ 21-2-418, -419 (provisional ballots use same
form as absentee ballots from local superintendent); 21-2-400(a) (Secretary
responsible for providing some supplies, but not provisional ballots).

                                         - 14 -
      Case 1:18-cv-05391-SCJ Document 48-1 Filed 03/05/19 Page 15 of 28




      In addition, Plaintiffs allege that these purported injuries took place in at

least Carroll, Chatham, Cherokee, Clarke, Cobb, DeKalb, Dougherty, Early,

Fulton, Gwinnett, Henry, Muscogee, and Randolph counties. [Doc. 41, ¶¶ 60, 73,

103, 104, 114, 117, 120, 123, 125, 134, 136, 137, 142, 151]. No one from those

counties is named in the Amended Complaint or under the control of Defendants.10

      Thus, Defendants do not control and cannot directly prevent a local

official(s) from (1) closing polling places [Doc. 41, ¶¶ 108-110]; (2) not

distributing provisional ballots [Doc. 41, ¶¶ 127-129]; (3) not allocating sufficient

resources to polling places [Doc. 41, ¶¶ 121-126]; (4) processing absentee ballots

[Doc. 41, ¶ 142-149]; or (5) improperly entering information for voter registration

[Doc. 41, ¶¶ 111-120]. All of these are county functions as a matter of law—not

the responsibility of Defendants. O.C.G.A. §§ 21-2-31, 21-2-50. This Court cannot

substitute Georgia law with Plaintiffs’ erroneous description of facts. Iqbal, 556

U.S. at 678. This error is dispositive and warrants a dismissal of Counts I-V and

parts of VI, including the HAVA claims against the Board and its Members.



10
   Plaintiffs’ claims are dramatically different than those heard by this Court in
Democratic Party v. Crittenden, No. 1:18-CV-5181-SCJ, 2018 U.S. Dist. LEXIS
196218 (N.D. Ga. Nov. 14, 2018), because the plaintiff asserted associational
standing and the remedy sought was rooted in the Secretary’s authority under
O.C.G.A. § 21-2-499 to “notify counties of errors in their computation and
tabulation of votes, and to direct them to re-certify such returns.” Id. at *22 n.2.

                                        - 15 -
       Case 1:18-cv-05391-SCJ Document 48-1 Filed 03/05/19 Page 16 of 28




       B. Plaintiffs’ Failure To Train Theory Fails To State A Claim.

       Plaintiffs’ Amended Complaint repeatedly alleges that the inaction of

Defendants and various actions of local county election officials amount to an

unconstitutional failure to train by Defendants. See, e.g., [Doc. 41 ¶ 139] (noting

Defendants’ alleged “failure to train county elections officials adequately”).

Plaintiffs similarly incorporate this alleged failure in their constitutional claims in

Counts I, II, and III, [Doc. 41 ¶¶ 163, 164, 175, 175, 189, 190, 197]. Plaintiffs’

Amended Complaint remains insufficient. Constitutional claims brought pursuant

to 42 U.S.C. § 1983 under a failure to train theory require greater specificity and, at

minimum, a responsibility for training must exist prior to liability attaching for an

alleged failure.

       In the failure to train context, the Supreme Court has held that the

inadequacy of “training may serve as the basis for § 1983 liability only where the

failure to train amounts to deliberate indifference to the rights of persons with

whom the [trainee] comes into contact.” City of Canton, Ohio v. Harris, 489 U.S.

378, 388 (1989). Similarly, unsatisfactory training of a particular officer “will not

alone suffice to fasten liability on the [government]” nor will allegations that claim

“an injury or accident could have been avoided if an officer had had better or more

training” establish liability. Id.


                                         - 16 -
      Case 1:18-cv-05391-SCJ Document 48-1 Filed 03/05/19 Page 17 of 28




      Additionally, the conduct at issue must be the responsibility of an employee

or agent of Defendants to sustain a failure to train claim—liability absent such a

relationship would be illogical and would contort § 1983 in an untenable manner,

vitiating any requirement of causation between alleged improper training and

unconstitutional actions. See Monell v. Dept of Social Svcs. Of the City of New

York, 436 U.S. 658, 692-95 (1978) (liability attaches only where government

caused employee or agent to violate another’s constitutional rights). Here,

Defendants train only elections superintendents and registrars. O.C.G.A. §§ 21-2-

50, 21-2-100. Defendants do not supervise, train, or guide local poll officers—that

duty falls to the counties whom Defendants have chosen to not join in this suit.

O.C.G.A. §§ 21-2-40, 21-2-70.

      Even if Defendants did have supervisory authority over local officials,

Plaintiffs have failed to elucidate (1) what training provided by or required of

Defendants may have been at fault; (2) whether the allegedly faulty training policy

was a “‘moving force’ behind the constitutional violation[s]” id. at 389 (quoting

Monell, 236 U.S. at 694 and Polk Cnty. v. Dodson, 454 U.S. 312, 326 (1981));

(3) which local officials were not properly trained; (4) how any alleged failures

could be traced to systemic and unconstitutional insufficient training (versus,

human error); and (5) that adequate training would have prevented alleged harms.


                                        - 17 -
      Case 1:18-cv-05391-SCJ Document 48-1 Filed 03/05/19 Page 18 of 28




      Instead, Plaintiffs point only to broad statutory requirements of Defendants

and scattered instances of local election official conduct. For example, Plaintiffs

point to the Secretary of State’s responsibility to conduct yearly “training sessions

. . . for the training of registrars and superintendents,” [Doc. 41 ¶ 57] (citing

O.C.G.A. § 21-2-20(a)(11)), and an uncited 2011 presentation given by then-

Secretary Kemp to county officials [Doc. 41 ¶ 66], 11 then go on to repeat

boilerplate training language throughout the Amended Complaint. Such broad

allegations are insufficient to put Defendants on notice of what training, or training

responsibility, was allegedly unconstitutional. See Twombly, 550 U.S. at 570.

      Even if Plaintiffs had sufficiently identified what training or training

responsibility was at fault here, their Amended Complaint fails to establish a

sufficient pattern of conduct to amount to a deliberate indifference as required to

state a claim. Harris, 489 U.S. at 388. Plaintiffs allege Defendants failed to train

officials regarding provisional and absentee ballots, [Doc. 41 ¶¶ 51-61], and in

doing so point to three instances in Gwinnett, Henry, and Muscogee counties

where voters were allegedly either misinformed as to their ballot status or


11
  Notably, Plaintiffs point to no statutory requirement of training as it pertains to
the Board, and for good reason—none exists. See generally O.C.G.A. § 21-2-31
(enumerating duties of the Board). As such, to the extent Plaintiffs’ claims in
Counts I-III attempt to pin liability on the Board on the basis of training, those
claims must be dismissed.

                                         - 18 -
      Case 1:18-cv-05391-SCJ Document 48-1 Filed 03/05/19 Page 19 of 28




provisional ballot availability. [Doc. 41 ¶¶ 134-37]. Plaintiffs do not, however,

allege how such isolated instances were the result of a systemic failure to train.

Similarly, Plaintiffs cite a handful of instances where conduct of local officials is

questioned as to absentee ballots [Doc. 41 ¶ 140-55], but again allege no facts

linking the alleged actionable conduct to constitutionally insufficient training by

Defendants.

      Incredulously, Plaintiffs also cite Democratic Party of Ga. v. Burkes in

support of their failure to train theory. No. 1:18-cv-00212 (M.D. Ga. Nov. 8,

2018). The facts in Burkes are unusual and specific, but in no way point to a failure

in training. There, an individual had successfully enjoined the printing of absentee

ballots as he sought to qualify as an independent candidate. Id. That injunction was

ultimately lifted, but it was followed by Hurricane Michael. The hurricane

shuttered the offices of the Dougherty County Board of Elections for three

additional days. Id. [Doc. 2-1]. After litigation that lasted a single day, the County

Board entered into a consent order to accept absentee ballots postmarked by

Election Day for an additional three days. Id. [Doc. 2-5]. Plaintiffs’ use of Burkes

is simply a bridge too far. As counsel for the plaintiffs acknowledged in Burkes,

that case was simply “a confluence of extraordinary circumstances,” Id. [Doc. 1],

not an example of a systemic failure to train which led to constitutional violations.


                                        - 19 -
       Case 1:18-cv-05391-SCJ Document 48-1 Filed 03/05/19 Page 20 of 28




III.   Plaintiffs’ Claims About Voter List Maintenance Should Be Dismissed.

       In Counts I-V of the Amended Complaint, Plaintiffs allege that the voter list

maintenance process contained in O.C.G.A. § 21-2-234 violates a variety of

constitutional and statutory provisions. Plaintiffs’ claims about this statute should

be dismissed for failure to state a claim. 12 The Supreme Court has long recognized

that “as a practical matter, there must be a substantial regulation of elections if they

are to be fair and honest and if some sort of order, rather than chaos, is to

accompany the democratic process.” Storer v. Brown, 415 U.S. 724, 730 (1974).

The voter-list-maintenance statute is just such a regulation.

       The evaluation of voting regulations under the right to vote takes place

under a sliding scale, considering the alleged burden against the interest of

government. Anderson v. Celebrezze, 460 U.S. 780, 789 (1983). “Regulations

imposing severe burdens on plaintiffs’ rights must be narrowly tailored and

advance a compelling state interest. Lesser burdens, however, trigger less exacting

review, and a State’s ‘important regulatory interests’ will usually be enough to

justify ‘reasonable, nondiscriminatory restrictions.’” Timmons v. Twin Cities Area

New Party, 520 U.S. 351, 358 (1997) (quoting Burdick v. Takushi, 504 U.S. 428,
12
   Two years ago, this Court granted a motion to dismiss a challenge to the same
statute under the National Voter Registration Act (NVRA) and the First
Amendment. Common Cause v. Kemp, 243 F. Supp. 3d 1315 (N.D. Ga. 2017),
vacated and remanded 714 Fed. App’x. 990 (11th Cir. 2018).

                                         - 20 -
      Case 1:18-cv-05391-SCJ Document 48-1 Filed 03/05/19 Page 21 of 28




434 (1992)). This Anderson/Burdick standard is applied regardless of how

Plaintiffs frame a Fourteenth Amendment claim. Friedman v. Snipes, 345 F. Supp.

2d 1356, at 1378-1379 (S.D. Fla. 2004) (citing Fulani v. Krivanek, 973 F.2d 1539,

1543 (11th Cir. 1992)).

      Maintaining an accurate voter list using the process in O.C.G.A. § 21-2-234

is part of the state’s important regulatory interests. The Supreme Court recognized

this fact in reviewing Ohio’s list maintenance procedures last year. In Husted v. A.

Philip Randolph Inst., 584 U.S. ___, 138 S. Ct. 1833 (2018), the Supreme Court

explained that the National Voter Registration Act (NVRA) requires states to

conduct voter list maintenance to remove the names of voters who are ineligible by

reason of death or a change in residence. Id. at 1838.

      In Husted, the Court was reviewing a challenge to Ohio’s list maintenance

system under the NVRA and explained that Ohio’s process involved two steps.

First, the state lawfully sent notices to registrants identified by the Postal Service

as having moved. Id. at 1840. Second, Ohio sent notices to anyone who had not

engaged in voter activity for two consecutive years—having no contact with the

registrar for that period. Id. If the individual failed to respond to the notice and was

inactive for four additional years, they were removed from the voter rolls. Id. at

1841. This process is almost identical to Georgia’s process, as outlined in


                                         - 21 -
      Case 1:18-cv-05391-SCJ Document 48-1 Filed 03/05/19 Page 22 of 28




O.C.G.A. § 21-2-234 and Plaintiffs’ Amended Complaint. 13 [Doc. 41, ¶¶ 70-72].

      While relying on other constitutional provisions than those raised in Husted,

Plaintiffs’ challenge to O.C.G.A. § 21-2-234 similarly centers on the impact of a

voter failing to return the notification from the state. [Doc. 41, ¶¶ 71-72, 75], 138

S. Ct. at 1845-46. The plaintiffs in Husted argued, as Plaintiffs do here, that a non-

returned notice effectively removed someone from the rolls for failing to vote. Id.

The Supreme Court disagreed, finding that a “State violates the Failure to Vote

Clause only if it removes registrants for no reason other than their failure to vote.”

Husted, 138 S. Ct. at 1842 (emphasis added). Ohio’s (and thus Georgia’s) laws did

not meet that standard. Id. at 1845-46.

      Squarely rejecting the sort of judicial encroachment that Plaintiffs seek here,

the Supreme Court based its decision to uphold Ohio’s process on the fact that it

had “no authority to dismiss the considered judgment of Congress and the Ohio

Legislature regarding the probative value of a registrant’s failure to send back a

return card.” Husted, 138 S. Ct. at 1846. As the Court determined, Congress

requires states to use a voter list maintenance process under the NVRA that

specifically includes the option of a return card. 52 U.S.C. §§ 20507(a)(4),


13
  In fact, Georgia’s process is more forgiving than that of Ohio at issue in Husted,
requiring three years of no contact before an initial notice and then two federal
election cycles of inactivity before removal. O.C.G.A. §§ 21-2-234, 21-2-235.

                                          - 22 -
      Case 1:18-cv-05391-SCJ Document 48-1 Filed 03/05/19 Page 23 of 28




20507(d)(2). And, the Constitution expressly grants to States the authority to set

the “Times, Places and Manner” of elections absent additional congressional

direction. U.S. Const. Art. I, § 4, cl. 1.

       Plaintiffs have not challenged the federal laws that specifically require voter

list maintenance and outline the processes to be used by the state, nor have they

pleaded any facts different from those raised in Husted. Thus, Husted is dispositive

and warrants a dismissal of those portions of Plaintiffs’ Amended Complaint that

challenge O.C.G.A. § 21-2-234.14

IV.    Plaintiffs’ Claims Against The Board Are Barred By The Eleventh
       Amendment And Because State Agencies Are Not Persons Under
       § 1983.

       “Unless a State has waived its Eleventh Amendment immunity or Congress

has overridden it, [ ] a State cannot be sued directly in its own name regardless of

the relief sought.” Kentucky v. Graham, 473 U.S. 159, 167 n. 14 (1985). This

immunity also extends to state agencies. Id. at 169; see also Will v. Michigan Dep’t

of State Police, 491 U.S. 58, 70-71 (1989); Howlett v. Rose, 496 U.S. 356, 365

(1990) (“[T]he State, and arms of the State, which have traditionally enjoyed

Eleventh Amendment immunity, are not subject to suit under § 1983 in either


14
  This is also why Plaintiffs’ use of the political catchphrases “voter purges” and
“use it or lose it” to describe the statutory voter list maintenance process required
by the NVRA are not accurate descriptions of the statute at issue before this Court.

                                             - 23 -
      Case 1:18-cv-05391-SCJ Document 48-1 Filed 03/05/19 Page 24 of 28




federal court or state court.”). Because the Board is a state agency, O.C.G.A.

§ 21-2-30, claims against it are barred by the Eleventh Amendment. Plaintiffs may

also not pursue their federal claims against the Board because it is not a “person”

within the meaning of 42 U.S.C. §1983. 15 See Will, 491 U.S. at 65 (“[A] State is

not a ‘person’ within the meaning of §1983.”).

V.    Plaintiffs’ Claims Against The Board And Its Members Should Be
      Dismissed For Failure to Plead Causation.

      As an initial matter, Plaintiffs’ Amended Complaint is a shotgun pleading,

where every Count incorporates by reference each of 157 preceding paragraphs.

See Chudasama v. Mazda Motor Corp., 123 F.3d 1353, 1359 n. 9 (11th Cir. 1997).

Accordingly, Defendants have no way of knowing which allegations are against

them, and have therefore not been given adequate notice of the grounds for each

claim. Id. Plaintiffs’ claims should be dismissed on this basis alone.

      Plaintiffs also have not alleged any conduct by the Board or its Members

within their statutory authority that led to any supposed injury. As recognized in

the Amended Complaint, the statutory duties of the Board are limited and outlined

in O.C.G.A. § 21-2-31. Plaintiffs failed, however, to allege that the Board’s

performance or non-performance of any of its statutory duties caused any of
15
  42 U.S.C. § 1983 provides a cause of action for violations of federal
constitutional or statutory rights by any “person” acting under color of law.


                                        - 24 -
      Case 1:18-cv-05391-SCJ Document 48-1 Filed 03/05/19 Page 25 of 28




Plaintiffs’ alleged harms. This warrants dismissal of the claims against the Board.

      Indeed, Plaintiffs’ only specific allegation regarding the Board is that it

“rejected and rebuffed attempts . . . to improve the data security of the Georgia

database of voters.” [Doc. 41 ¶ 51]. This may not be Plaintiffs’ preferred policy

decision, but it is neither unconstitutional nor the basis of any of Plaintiffs’ claims.

Each Count simply asserts broadly that “Defendants” must “protect the integrity of

elections,” [Doc. 41, ¶¶ 162, 172, 185, 204, 211, 232] and that “Defendants” failed

to do so as a result of various acts outside the Board’s statutory purview [Doc. 41,

¶¶ 163, 164, 175, 176, 189, 190, 213, 214, 234]. Plaintiffs do not identify what

harms, if any, are alleged to have been caused by the Board or its Members, nor do

they challenge any rule promulgated by the Board. This is fatal to Plaintiffs’ claims

against the Board and its Members and, accordingly, they should be dismissed.

                                   CONCLUSION

      Plaintiffs announced their lawsuit with great fanfare and have effectively

used it as a means of raising funds, generating press coverage for their chosen

policy preferences, and advancing a political agenda. Now, however, the Amended

Complaint must survive judicial scrutiny. Like their first attempt, this second effort

cannot. For these reasons, Defendants request that the Amended Complaint be

dismissed with prejudice.


                                         - 25 -
      Case 1:18-cv-05391-SCJ Document 48-1 Filed 03/05/19 Page 26 of 28




                               CERTIFICATION
      I certify that this brief has been prepared in a Times New Roman 14-point

font, one of the font and point selections approved by the Court in Local Rule

5.1(C).

      Respectfully submitted this 5th day of March, 2019.

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                                       - 26 -
Case 1:18-cv-05391-SCJ Document 48-1 Filed 03/05/19 Page 27 of 28




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                              - 27 -
      Case 1:18-cv-05391-SCJ Document 48-1 Filed 03/05/19 Page 28 of 28




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

FAIR FIGHT ACTION, et al.,

      Plaintiffs,

vs.
                                            Civil Action No.: 1:18-cv-05391-SCJ
BRAD RAFFENSPERGER, in his
official capacity as the Secretary of
State of Georgia; et al.,

       Defendants.


                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that I have this date electronically filed the foregoing

DEFENDANTS’ BRIEF IN SUPPORT OF THEIR RENEWED MOTION

TO DISMISS PLAINTIFFS’ AMENDED COMPLAINT with the Clerk of the

Court using the CM/ECF system which will automatically send email notification

of such filing to the attorneys of record listed on the case.

      This 5th day of March, 2019.

                                               /s/ Josh B. Belinfante
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